Case 1:19-cv-01339-DDD-JPM Document 12 Filed 02/11/20 Page 1 of 1 PageID #: 79



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION

 JERRY MCKINNEY, SR.                          CIVIL ACTION NO.: 1:19-CV-01339

 VERSUS                                       JUDGE DEE D. DRELL

 RAPIDES PARISH SHERIFF’S
 OFFICE and SHERIFF WILLIAM
 EARL HILTON                                  MAGISTRATE JUDGE PEREZ-MONTES



                                             ORDER

        Considering the Proposed Plan of Work submitted herein,

        IT IS ORDERED that the Plan of Work be and is hereby accepted and shall become the

 Scheduling Order in this case, subject to the following modifications:

         NONE
 ______________________________________________________________________________

 ______________________________________________________________________________

        It appearing to the Court that the provisions of the Plan of Work will be satisfied on the

 February, 2021,

        IT IS FURTHER ORDERED that a pretrial conference be held in Chambers, on the 17th

 day of June, 2021, beginning at 1:30 p.m.

        IT IS FURTHER ORDERED that counsel are to review this Court’s Standing Order-

 Possession and Use of Electronic Devices in the Courtroom found on our website at

 www.lawd.uscourts.gov on Judge Dee D. Drell’s forms page.

        SIGNED on this 11th day of February, 2020,at Alexandria, Louisiana.


                     ______________________________________________
                              JOSEPH H. L. PEREZ-MONTES
                                U. S. MAGISTRATE JUDGE
